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 1                                                                          HONORABLE TANA LIN

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 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7                                           AT SEATTLE

 8   NEXON KOREA CORPORATION, a Korean
     Corporation,                                           Case No.: 2:23-cv-00576-TL
 9
                      Plaintiff,                            DECLARATION OF JASON PARK IN
10           v.                                             SUPPORT OF PLAINTIFF’S
                                                            OPPOSITION TO DEFENDANTS’
11   IRONMACE CO., LTD., a Korean                           MOTION TO DISMISS FOR FORUM
     Corporation; JU-HYUN CHOI, individually;               NON CONVENIENS
12   and TERENCE SEUNGHA PARK,
     individually,                                          NOTE ON MOTION CALENDAR:
13                                                          JULY 14, 2023
                      Defendants.
14                                                          ORAL ARGUMENT REQUESTED

15   I, Jason Park, declare and state as follows:

16           1.       I am over 18 years of age. The statements made herein, are known by me to be true

17   and correct, and if called upon, I could and would competently testify to those facts.

18           2.       I am fluent in Korean and English. I have eight years of experience as a full-time

19   legal translator, translating documents in Korean to English and English to Korean. I have

20   extensive experience translating legal documents, such as contracts, from Korean to English. I

21   have translated many legal documents for use in court proceedings in the United States and Korea.

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     DECLARATION OF JASON PARK - 1
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 1             3.      I have been provided with and reviewed copies of “Annual Salary Agreement” 1

 2   and “Confirmation of Rights to Business-Related Intellectual Property,” 2 entered between Nexon

 3   and Ju-Hyun Choi. Dkt.#32, Ex. A, Ex. B.

 4             4.      Regarding the Korean phrase “본 계약과 관련하여” in the forum selection clause of the

 5   Annual Salary Agreement (art. 7(4)) and Confirmation of Rights to Business-Related Intellectual

 6   Property (art. 5(2)), there are multiple possible English translations.

 7             5.      Possible translations of the phrase “본 계약과 관련하여” include but are not limited to:

 8             a. Arising out of this agreement

 9             b. In connection with this agreement

10             c. Regarding this agreement

11             d. Based upon this agreement

12   6.         These translations are, to the best of my knowledge and belief, true and correct

13   translations. I further declare that I am neither counsel for, related to, nor employed by any of the

14   parties, and that I have no financial or other interest in the outcome of any action related to this

15   translation.

16   7.         I declare under penalty of perjury under the laws of the United States that the foregoing

17   is true and correct to the best of my knowledge.

18

19              EXECUTED this 10th day of July 2023 at Seoul, Korea.

20                                                                 _____________
                                                                   Jason Park
21

22

23   1
         Also known as “Employment Agreement.”
     2
         Also known as “Acknowledgement about Company IP.”
24


     DECLARATION OF JASON PARK - 2
     Case No. 2:23-cv-00576-TL
